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United States of America

V.

Roberto Partida

UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA

 

Case No.: a3 ~ 3OO\ WT)

CRIMINAL COMPLAINT

(Electronically Submitted)

I, the undersigned complainant, being duly sworn, state that the following is true and correct to

the best of my knowledge and belief:

COUNTS 1 - 4

On or about December 30-31, 2022, in the District of Arizona, Defendant ROBERTO
PARTIDA, made a material false statement during the purchase of a firearm in violation of 18 U.S.C.

Section 922(a)(6), to wit:

 

 

 

 

 

 

 

 

 

Count Date False Statement(s) To Whom False Statements
Made
1 December False name and address On a 4473 form to Sprague’s
30, 2022 Sports, a Federally Licensed
Firearms dealer in Yuma, AZ
2 December False name and address On a 4473 form to Sportsman’s
30, 2022 Warehouse, a Federally Licensed
Firearms dealer in Yuma, AZ
3 December False name and address On a 4473 form to Cal-Ranch, a
30, 2022 Federally Licensed Firearms
dealer in Yuma, AZ
4 December False name and address On a 4473 form to Cal-Ranch, a
31, 2022 Federally Licensed Firearms
dealer in Yuma, AZ

 

COUNTS 5 - 8

On or about December 30-31, 2022, in the District of Arizona, Defendant ROBERTO
PARTIDA, knowingly used, without lawful authority, a means of identification of another person, in
violation of 18 U.S.C. Section 922(a)(6), referenced in Counts 1-4 above, in violation of 18 U.S.C.
Section 1028A(c)(3), to wit:

 

 

 

 

 

 

 

 

Count Date False Name
5 December 30, 2022 J.C.K.
6 December 30, 2022 J.C.K.
7 December 30, 2022 J.C.K.
8 December 31, 2022 J.C.K.

 

 

I further state that I am a Special Agent from the Bureau of Alcohol, Tobacco, Firearms, and

Explosives and that this complaint is based on the following facts:

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See Attached Statement of Probable Cause Incorporated By Reference Herein.

 

 

 

 

 

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Kyle Dandoy, Special Agent, ATF Kyle L andtoy.
Name of Complainant Signattire of Complafhant
Telephonically Sworn to and subscribed
| ~ | “ 9.3 at Phoenix, Arizona

Date City and State

HONORABLE MICHAEL T. MORRISSEY Wr Ak Y- Proreis “4

United States Magistrate Judge

 

 

Name & Title of Judicial Officer Signature of Judicial Officer

 
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STATEMENT OF PROBABLE CAUSE

I, Kyle Dandoy, a Special Agent with The Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), being duly sworn, depose and state as follows, to wit:
INTRODUCTION

The facts of this case, as more fully detailed herein, are that on or about December 31,
2022, I became involved in an investigation involving an individual identified as Roberto
PARTIDA, DOB XX/XX/1983 (full DOB known to me). I determined that on December 30-
31, 2022, PARTIDA purchased nine (9) firearms from three different Federal Firearms
Licensees (FFLs) in Yuma, Arizona, using a false identification with his own picture but with
the name on the identification being J.C.K. (full name known to me) who is an actual individual,
DOB XX/XX/1990 (full DOB known to me).

On December 31, 2022, I obtained two federal search warrants from the Honorable
Magistrate Judge Michael T. Morrissey to authorize the search of a motel room and vehicle that
PARTIDA had been associated with given law enforcement surveillance and witness statements.
The results of those search warrants revealed that the motel room contained seven (7) firearms
and several identification documents not in PARTIDA’s name, detailed below.

In this affidavit, I believe there is probable cause to believe that ROBERTO PARTIDA
made a material false statement during the purchase of a firearm in violation of 18 U.S.C. §
922(a)(6) and Aggravated Identity Theft in violation of 18 U.S.C. §§ 1028A(a) and (c)(3).

PRELIMINARY BACKGROUND INFORMATION
1. I am a Special Agent with The Bureau of Alcohol, Tobacco, Firearms, and Explosives

(ATF), and have been since May 2021. During my tenure as a Special Agent, I have
completed approximately 500 hours of instruction at the Federal Law Enforcement
Training Center in Glynco, Georgia (FLETC). I also completed approximately 750
hours of Special Agent Basic Training (SABT) at FLETC. Prior to my tenure as a
Special Agent, I worked for the Yuma Police Department (YPD) from November 2011
to May of 2021. During my time at YPD, I conducted many investigations ranging
from property crimes to shootings for approximately 6 years while working in a patrol

capacity. I was also an instructor in various topics to include Driving, Firearms, High

 

 
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Risk Stops, etc. I also spent approximately 3 % years in the training unit before
returning to patrol, where I continued to instruct and perform patrol duties, which
included investigations. The statements contained in this Affidavit are based on my
experience and background as a Special Agent and on information I determined during
this investigation as well as provided by other law enforcement agents and witnesses.
Because this Affidavit is being submitted for the limited purpose of establishing
probable cause for the requested warrant, I have not set forth all of the relevant facts
known to law enforcement officers
DETAILS OF THE INVESTIGATION
On December 31, 2022, the Bureau of Alcohol, Tobacco, Firearms and Explosives

(ATF) was alerted by Cal-Ranch, a local Yuma Federal Firearms Licensee (FFL) of

‘multiple firearm purchases made in cash by a male identifying himself as J.C.K. (full

name known to me) (later determined to be Roberto PARTIDA). The FFL believed his
driver’s license to be fake. The Arizona Driver’s License name used by the male was
J.C.K. with a date of birth XX/XX/1990 (full DOB known to me) and an Arizona
Driver’s License number of XXXXX0560 (full driver’s license number known to me).

The FFL requested that I investigate the possible fake driver’s license. I determined the
photograph on the driver’s license displaying J.C.K.’s name was not the same
photograph according to the Arizona Department of Motor Vehicles (DMV) records.
J.C.K. is an actual person with an address in Surprise, Arizona. I also determined that
the actual J.C.K.’s driver’s profile record with the driver’s license number is in the name

of J.C.K. IL.

I contacted several FFLs in Yuma County and learned PARTIDA purchased a total of
nine (9) firearms on December 30-31, 2022.

Specifically, PARTIDA purchased two (2) firearms from Sprague’s Sports, (one being
a Taurus, 2-85629 Model, 38 Cal. Revolver S/N ACJ296952, and a second being a Glock
G26 9 mm pistol S/N BYAD865).

 

 
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PARTIDA purchased two (2) firearms from Sportsman’s Warehouse, (both Springfield,
Hellcat Model, 9mm pistols, S/N BB393192 and S/N BA581522).

PARTIDA purchased five (5) firearms from Cal-Ranch. Specifically, involving his
purchases from Cal-Ranch, I was advised by Cal-Ranch that PARTIDA first purchased
two (2) firearms on December 30, 2022, (both Springfield, Hellcat Model, 9 mm pistols,
S/N BA254493 and S/N BB441482), and then returned to the store later on December
30, 2022, to purchase an additional two (2) firearms (Springfield Hellcat 9mm pistol S/N
BB478583 and a Glock 26 9 mm pistol S/N AGPS365), however an employee became
suspicious of PARTIDA and delayed the purchase. On December 31, 2022, when
PARTIDA returned to finalize the purchase of the third and fourth firearms, he purchased
a fifth (an Altor Corp 9 mm pistol S/N AAB1942) for a total of five (5) purchased

firearms from Cal-Ranch.

On December 31, 2022 when I became aware of this incident and started my
investigation into PARTIDA’s identity, I learned that PARTIDA contacted Cal-Ranch
asking if his background was completed yet. An employee told PARTIDA he was still
delayed.

Shortly after I learned of this information, the local police department was keeping a
look out for a U-Haul van as I was told PARTIDA was driving a U-Haul van. The local
police department spotted the U-Haul described as white GMC Savana U-Haul van
bearing Arizona License Plate AL82438, Vehicle Identification Number (VIN):
1GTW7AFPXN1247737. I conducted surveillance on the vehicle and observed
PARTIDA drive to Knights Inn motel, the Subject Premises, and stand by room #206.

The local police department inquired with the front desk and learned the renter of room
#206 was a person using the name James Kohl (PARTIDA). Shortly after I witnessed
PARTIDA at the Subject Premises, additional surveillance was conducted by other

officers and PARTIDA was witnessed leaving the Subject Premises.

 

 
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PARTIDA drove to Cal-Ranch and purchased the third and fourth firearms he had
attempted to purchase on December 30, 2022, as PARTIDA called Cal-Ranch and asked

again if his background was clear. PARTIDA was told he received his proceed status.

Upon PARTIDA purchasing the third and fourth firearms from Cal-Ranch, he also
purchased a fifth, and agents contacted PARTIDA as he left the FFL and was
approaching the U-Haul vehicle. Agents stopped PARTIDA and identified themselves.
Agents seized the three firearms in PARTIDA’s possession (i.e., the third, fourth, and
fifth gun purchases he made on December 31, 2022).

I read PARTIDA his Miranda rights and he declined to talk. I advised PARTIDO that
I would not ask him any questions about the gun purchases, however, I needed to identify
him. He told me his name was Robert Partida, DOB XX/XX/1983 (full DOB known to
me) with Social Security Number XXX/XX/2076 (full SSN known tome). PARTIDA

possessed a fake driver’s license with his photograph but in the name of J.C.K.

Based on my training and experience, I know Glock, Taurus, and Springfield firearms to
be manufactured outside of the state of Arizona. Therefore, they would have needed to

travel across state lines to be in Arizona.

The vehicle associated with PARTIDA at the Cal-Ranch store parking lot was
continually surveilled by law enforcement following law enforcement contact with
PARTIDA and no other person left the vehicle or entered the vehicle. The motel room
associated with PARTIDA, specifically the Knights Inn motel Room 206, was also
continuously observed from approximately 5:30 p.m. on December 31, 2022, until the

search warrant was executed and no other person accessed the motel room or left.
The three firearms seized from PARTIDA after he left Cal-Ranch were:

a. Springfield, Hellcat model, 9 mm pistol, S/N BB478583
b. Glock, model 26, 9 mm pistol, S/N AGPS365
c. Altor Corp, 9 mm pistol, S/N AAB1942

 

 
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The item of evidentiary value recovered during the search warrant of the van vehicle
associated with PARTIDA was a California Driver’s License D1208599, in the name of
Roberto Partida.

The items of evidentiary value recovered from the Knights Inn Room 206 motel room

were:

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Canon Digital Camera, S/N 0630550254
Four (4) Arizona driver’s licenses in the names of John Watson, John Watson,
James Kohl, and the fourth with the name blacked out (like with a Sharpee
pen).
A Nevada driver’s license with the name R.R. Jr. (full name known to me).
Two (2) Texas driver’s licenses, both with the name of B.R. (full name known
to me).
A California driver’s license with the name of A.P., Jr. (full name known to
me).
Five (5) firearm cardboard boxes.
A Springfield gun case with two (2) magazines.
Four (4) Springfield Hellcat manuals.
A Ruger 9 mm pistol, S/N 860-57017.
Cash America receipt showing purchase of Ruger 9 mm pistol, S/N 860-57017
A Taurus Model 2-85629, .38SPL revolver, S/N ACJ296952.
A Springfield, Hellcat model, 9 mm pistol, S/N BB441482.

. A Springfield, Hellcat model, 9 mm pistol, S/N BB393192.

A Springfield, Hellcat model, 9 mm pistol, S/N BA254493,
A Springfield, Hellcat model, 9 mm pistol, S/N BA581522.
A Glock model 26, 9 mm pistol, S/N BYAD865.

Two (2) Glock magazines.

Lenovo laptop computer.

Yoga laptop computer.

Blu model cell phone.

Black Apple iPhone.

 

 

 
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20. In summary I was aware of PARTIDA’s purchasing nine (9) pistols on December 30-
31, 2022. Law enforcement seized three (3) of those nine when PARTIDA was
contacted in the Cal-Ranch parking lot after he made his purchase on December 31, 2022
(See Paragraph 17 herein). The hotel room contained the additional six (6) pistols, and
one that law enforcement did not know about (i.e. the Ruger 9 mm pistol, S/N 860-57017
listed above). PARTIDA also possessed additional driver’s license identifications not
with either his name or picture (i.e. J.C.K. and males with names / initials of A.H.P, Jr.,

B.D.R., and R.T.R., Jr. full names known to me).

CONCLUSION
21. Based on the foregoing, I believe that there is probable cause that ROBERTO
PARTIDA made a material false statement during the purchase of a firearm in violation of 18

U.S.C. § 922(a)(6) and Aggravated Identity Theft in violation of 18 U.S.C. §§ 1028A(a) and
(c)(3).

Respectfully submitted,

KYLE DANDOY ”
Special Agent, ATF

 

Subscribed and sworn electronically this \ fay of January, 2023.

Wardhokd V- Morris sen

HONORABLE MICHAEL T. MORRISSHY
United States Magistrate Judge

 

 

 
